
Bell, &lt;T.
This was an action by the payee against the maker of a promissory note and an alleged accommodation indorser, against which the indorser defended upon the ground that his indorsement was given not as surety for the principal defendant, but at the plaintiff’s request and solely as surety for the plaintiff, in order that the plaintiff might negotiate the note to another, and that the plaintiff did negotiate the *493note, but thereafter reacquired it. See Rheney v. Anderson, 22 Ga. App. 418 (96 S. E. 217). The evidence as a whole was not of such a character as to demand a verdict in favor of the plea, but merely presented an issue thereon for determination by the jury, whose verdict was in favor of the plaintiff and against the plea. No error of law is complained of, and the trial judge did not err in overruling the indorser’s motion for new trial, containing the general grounds only.
Decided February 9, 1923.
E. C. Collins, for plaintiff in error. II. C. Beasley, contra.

Judgment affirmed.


Jenlcins, P. J., and Stephens, J., concur.

